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  8                         UNITED STATES DISTRICT COURT
  9                        CENTRAL DISTRICT OF CALIFORNIA
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 11 TAI HANG and ROBERT CANALES,               CASE NO. 5:21-cv-00287-JWH-(KKx)
    on behalf of themselves and all others
 12 similarly situated,                        ORDER GRANTING JOINT
                                               STIPULATION TO EXTEND
 13                Plaintiffs,                 DEFENDANT’S TIME TO
                                               RESPOND TO FIRST AMENDED
 14        vs.                                 COMPLAINT
 15 OLD DOMINION FREIGHT LINE,
      INC., a Virginia corporation; and DOES   Current Response Date:   2/26/21
 16 1 to 100, inclusive,                       New Response Date:       3/19/21
 17                Defendants.
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                                          ORDER
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  1        This matter comes before the Court on the Joint Stipulation to Extend
  2 Defendant’s Time to Respond to First Amended Complaint (“FAC”) (the

  3 “Stipulation”) filed by Plaintiffs Tai Hang and Robert Canales (collectively,

  4 “Plaintiffs”) and Defendant Old Dominion Freight Line, Inc. (“Defendant”) (jointly,

  5 the “Parties”).

  6        Having reviewed the Stipulation, and finding good cause exists for the relief
  7 requested therein, the Stipulation is hereby GRANTED as follows:

  8        1.    Defendant’s time within which to answer or otherwise serve and file
  9 any motions or other pleadings responsive to Plaintiffs’ FAC in this action shall be

 10 and hereby is extended by three weeks (21 days) to and including March 19, 2021;

 11 and

 12        2.    By entering into this Stipulation, the Parties do not waive and expressly
 13 reserve all claims, defenses and challenges in this action including, without

 14 limitation, with respect to Defendant’s challenges to the FAC.

 15        IT IS SO ORDERED.
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 17 Dated: February 25, 2021             __________________________________
                                          HON. JOHN W. HOLCOMB
 18                                       UNITED STATES DISTRICT JUDGE
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                                           ORDER
